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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




NORTHWESTERN MUTUAL LIFE
INSURANCE COMPANY,

             Plaintiff,
                                                             Civil Action No. 22-2588 (CKK)
        v.

J.R.H., ex rel. MALEEQUA C. HALL, et al.

             Defendants.


                                  JOINT DISCOVERY PLAN

       Pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s instructions during the

August 4, 2023, initial scheduling conference, guardian ad litem for Minor Defendants J.R.H.,

M.R.H., and J.W. a/k/a J.R.H. and counsel for Cross-Defendant Jennifer Izumi, the active

litigants in the above-captioned matter (hereinafter “the parties”), respectfully submit the

following Joint Discovery Plan.

I.     Fact Discovery

       The parties agree that fact discovery will close by December 1, 2023. The parties served

their initial written discovery requests on August 25, 2023. All written discovery requests must

be served by October 2, 2023. Documents and other materials produced in response to written

discovery requests shall occur on a rolling basis, with document production to be substantially

complete by November 1, 2023.
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       The parties agree that the presumptive limit of 10 depositions under Federal Rule of Civil

Procedure 26(b)(2) shall apply, exclusive of expert depositions. Depositions of fact witnesses

will be conducted between November 3, 2023 and December 1, 2023.

       The parties further agree that all non-party discovery requests, if any, shall be served by

October 2, 2023.

II.    Expert Discovery

       The parties agree that expert discovery shall close on March 1, 2024. The parties agree

that the proponent’s Rule 26(a)(2)(B) & (C) disclosures shall be due on or before December 22,

2023, and that the opponent’s Rule 26(a)(2)(B) & (C) disclosures shall be due on or before

January 19, 2024. Replies shall be due on or before February 16, 2024. The parties will plan to

conduct expert depositions the week of February 26, 2024.

III.   ESI Protocol

       Concurrent with this draft discovery plan, the parties are submitting a proposed ESI

protocol to govern the production of electronically stored information in this matter for the

Court’s approval.

IV.    Stipulated Protective Order

       Concurrent with this draft discovery plan, the parties are submitting a proposed stipulated

protective order for the Court’s approval.



Dated: September 1, 2023                          Respectfully submitted,

                                                  By:    /s/ Matthew M. Girgenti
                                                         Matthew M. Girgenti [Bar #1033735]
                                                         WILMER CUTLER PICKERING
                                                         HALE AND DORR LLP
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                                     Guardian Ad Litem for Defendants J.R.H.,
                                     M.R.H., and J.W. a/k/a J.R.H.

                                     /s/ William R. Martin
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                                     Attorney for Cross-Defendant Jennifer D.
                                     Izumi
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all counsel of

record by electronic service through the Clerk of the Court’s CM/ECF filing system.


Dated: September 1, 2023                         By:    /s/ Matthew M. Girgenti

                                                        /s/ William R. Martin
